      Case 2:21-mc-01230-JFC            Document 3342       Filed 05/14/25      Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                             )
IN RE: PHILIPS RECALLED CPAP,                )
BI-LEVEL PAP, AND MECHANICAL                 )
VENTILATOR PRODUCTS                          )       Master Docket: Misc. No. 21-1230
LITIGATION                                   )
                                             )
                                             )       MDL No. 3014
This Document Relates to:                    )
                                             )
King v. Cornerstone, et al., #24-1693        )
                                             )
                                             )


                                      ORDER OF COURT


       AND NOW this 14th day of May, 2025, for the reasons set forth in the related opinion

and on the record in open court on May 6, 2025, it is hereby ORDERED that the pro se omnibus

motion to remand and for sanctions filed by plaintiff Derrick Martin King (“King”) (Civ. No. 24-

1693, ECF No. 4), and King’s renewed motion to remand for lack of subject-matter jurisdiction

filed at the master Philips MDL docket on March 21, 2025 (Misc. No. 21-1230, ECF No. 3252),

are DENIED, without prejudice to King’s ability to later seek remand if the status of pretrial

proceedings in the Philips MDL warrant remand.



                                                     BY THE COURT:


                                                     /s/ Joy Flowers Conti
                                                     Joy Flowers Conti
                                                     Senior United States District Court Judge
